                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                      CRIMINAL ACTION
 VERSUS                                                        NO: 19-66
 PATRICIA HARGIS                                               SECTION: “S”


                           NOTICE OF REARRAIGNMENT

      PHOTO IDENTIFICATION REQUIRED TO ENTER THE BUILDING

Take Notice that this criminal case has been reset for rearraignment on May 23, 2019 at
2:00 p.m. before Judge Mary Ann Vial Lemmon, 500 Poydras St., New Orleans, LA.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY   OUTSIDE   THE   AFORESAID    COURTROOM  FOR
EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


Date: April 26, 2019                           WILLIAM W. BLEVINS, CLERK

                                               by: Brad Newell, Deputy Clerk

TO:

Patricia Hargis (BOND)                         AUSA: Chandra Menon, T.A.
                                                     Andre J. Lagarde
COUNSEL FOR PATRICIA HARGIS:
Ralph Capitelli, Retained                      U.S. Marshal

                                               U.S. Probation & Pre-Trial Services Unit

                                               IRS-CI: David Conzelman, SA
                                               David.Conzelman@ci.irs.gov


                                               Interpreter: NONE


                                               If you change address,
                                               notify clerk of court
                                               by phone, 504-589-7714
